Case 3:21-cv-00584-CHB-RSE              Document 29          Filed 02/14/22     Page 1 of 1 PageID #:
                                              125




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

  ROY A. WILLIAMS,                                     )
                                                       )
            Plaintiff,                                 )         Civil Action No. 3:21-CV-584-CHB
                                                       )
  v.                                                   )
                                                       )      ORDER DISCHARGING SHOW
  BANK OF AMERICA, N.A., et al.,                       )         CAUSE ORDERS AND
                                                       )      ORDER DISMISSING EQUIFAX
            Defendants.                                )     INFORMATION SERVICES, LLC,
                                                       )          WITH PREJUDICE

                                          ***    ***       ***    ***
       This matter is before the Court on Response of the Plaintiff [R. 27] to the Court’s Show Cause

Orders [R. 24, R. 25], and Plaintiff’s Notice of Voluntary Dismissal of its claims against Defendant

Equifax Information Services, LLC [R. 26]. Plaintiff having responded to the Show Cause Orders,

having filed a Notice of Voluntary Dismissal and with the Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.        The Court’s Show Cause Orders [R. 24, R. 25] are hereby DISCHARGED.

       2.        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff’s claims in this matter against

Defendant Equifax Information Services, LLC, are DISMISSED WITH PREJUDICE, with each

party to bear its own costs and fees.

       This the 14th day of February 2022.




cc: Counsel of Record



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